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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11   HBI BRANDED APPAREL                      Case No. CV 23-10528-GW-PVCx
       ENTERPRISES, LLC,
  12
                           Plaintiff,
  13                                              ORDER TO DISMISS WITH
              v.                                  PREJUDICE
  14
       STATESIDE MERCHANTS, LLC,
  15
                           Defendant.
  16

  17

  18
             Based upon the stipulation between the parties and their respective counsel,
  19
       it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
  20
             Each party shall bear their own attorneys’ fees and costs.
  21
             IT IS SO ORDERED.
  22

  23
       Dated: February 28, 2025
  24
                                              _________________________________
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                                              HON. GEORGE H. WU,
  26                                          UNITED STATES DISTRICT JUDGE
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